       Case 8:21-cr-00187-JVS Document 1 Filed 10/19/21 Page 1 of 4 Page  ID #:1
                                                                       FILED
                                                                   CLERK, U.S. DISTRICT COURT


                                                                    10/19/2021

1
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                         DM
                                                                   BY: ___________________ DEPUTY


2

3

4

5

6

7

8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                June 2021 Grand Jury

11   UNITED STATES OF AMERICA,                SA CR 8:21-cr-00187-JVS

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [21 U.S.C. §§ 841(a)(1),
                                              (b)(1)(B)(ii), (b)(1)(C):
14   JOHN ABEL BACA,                          Distribution of Cocaine; 21 U.S.C.
                                              § 853: Criminal Forfeiture]
15             Defendant.

16

17        The Grand Jury charges:
18                                      COUNT ONE
19                       [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
20        On or about April 29, 2021, in Orange County, within the Central
21   District of California, defendant JOHN ABEL BACA knowingly and
22   intentionally distributed cocaine, a Schedule II narcotic drug
23   controlled substance.
24

25

26

27

28
       Case 8:21-cr-00187-JVS Document 1 Filed 10/19/21 Page 2 of 4 Page ID #:2



1                                       COUNT TWO

2                     [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(ii)]

3         On or about May 4, 2021, in Orange County, within the Central

4    District of California, defendant JOHN ABEL BACA knowingly and

5    intentionally distributed at least 500 grams, that is, approximately

6    1,006 grams, of a mixture and substance containing a detectable

7    amount of cocaine, a Schedule II narcotic drug controlled substance.

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             2
       Case 8:21-cr-00187-JVS Document 1 Filed 10/19/21 Page 3 of 4 Page ID #:3



1                                FORFEITURE ALLEGATION

2                                  [21 U.S.C. § 853]

3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 21,

6    United States Code, Section 853, in the event of the defendant’s

7    conviction of the offenses set forth in Counts One and Two of this

8    Indictment.   The defendant, if so convicted, shall forfeit to the

9    United States of America the following:

10              (a)   All right, title and interest in any and all property,

11   real or personal, constituting or derived from, any proceeds which

12   the defendant obtained, directly or indirectly, from such offense;

13              (b)   All right, title and interest in any and all property,

14   real or personal, used, or intended to be used, in any manner or

15   part, to commit, or to facilitate the commission of such offense;

16              (c)   To the extent such property is not available for

17   forfeiture, a sum of money equal to the total value of the property

18   described in subparagraphs (a) and (b).

19        2.    Pursuant to Title 21, United States Code, Section 853(p),

20   and as incorporated by Title 28, United States Code, Section 2461(c),

21   the defendant, if so convicted of any of Counts One and Two of this

22   Indictment, shall forfeit substitute property, up to the value of the

23   total amount described in paragraph 1, if, as the result of any act

24   or omission of the defendant, the property described in paragraph 1,

25   or any portion thereof: (a) cannot be located upon the exercise of

26   due diligence; (b) has been transferred, sold to, or deposited with a

27   third party; (c) has been placed beyond the jurisdiction of the

28   court; (d) has been substantially diminished in value; or (e) has

                                             3
       Case 8:21-cr-00187-JVS Document 1 Filed 10/19/21 Page 4 of 4 Page ID #:4



1    been commingled with other property that cannot be divided without

2    difficulty.

3

4
                                                 A TRUE BILL
5

6                                                        /S/
                                                 Foreperson
7

8    TRACY L. WILKISON
     Acting United States Attorney
9

10

11   SCOTT M. GARRINGER
     Assistant United States Attorney
12   Chief, Criminal Division

13   MACK E. JENKINS
     Assistant United States Attorney
14   Chief, Public Corruption & Civil
     Rights Section
15
     VERONICA DRAGALIN
16   CASSIE D. PALMER
     Assistant United States Attorneys
17   Public Corruption & Civil Rights
     Section
18
     GINA J. KONG
19   Assistant United States Attorney
     Santa Ana Branch Office
20

21

22

23

24

25

26

27

28

                                             4
